
USCA1 Opinion

	







                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1018

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 BRIAN D. STURTEVANT,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Peter B. Krupp, Federal Defender Office, for appellant.
            ______________
            Sheila W.  Sawyer, Assistant  United  States  Attorney, with  whom
            _________________
        Donald K. Stern, United  States Attorney, was on brief  for the United
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        States.


                                 ____________________

                                   August 10, 1995
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                 Per Curiam.   On  February 7, 1992,  four Boston  police
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            officers patrolling the Cathedral Housing Projects,  observed

            appellant  Brian Sturtevant striking  Eric Randolph about the

            head.   After separating  the two  individuals, the  officers

            searched Sturtevant and discovered a loaded sawed-off shotgun

            concealed  inside one leg of his  pants.  They also found two

            shotgun  shells in  Sturtevant's right  coat  pocket and  one

            "hit" of crack cocaine inside his glove.  

                 Sturtevant  was indicted on  federal charges of  being a

            felon in possession of a  firearm, 18 U.S.C.   922(g)(1), and

            possessing an unregistered firearm, 26  U.S.C.   5861(d).  He

            was also charged in state  court with assault and battery and

            possession of a controlled substance.  On September 28, 1994,

            Sturtevant  pled  guilty  to  the  federal  charges  and  was

            subsequently sentenced to 72 months' imprisonment. 

                 The  presentence  report   recommended  that  Sturtevant

            receive  a  four-level  increase in  his  base  offense level

            pursuant to  U.S.S.G.   2K2.1(b)(5), which  requires a  four-

            level enhancement "[i]f  the defendant used or  possessed any

            firearm  or ammunition  in  connection  with  another  felony

            offense . .  . ."  The  probation officer concluded  that the

            enhancement  was warranted  because Sturtevant  had possessed

            the sawed-off shotgun  during his  altercation with  Randolph







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            and--according  to   Randolph's  initial  statement   to  the

            police1--had  threatened  to  shoot  Randolph  prior  to  the

            fight.  

                 At  sentencing,   Sturtevant  opposed   the  recommended

            enhancement,  and submitted an affidavit from Randolph, dated

            November 22, 1994, in which he said that Sturtevant had never

            threatened him or mentioned a gun.   The government countered

            with an  affidavit from  Randolph, dated  November 28,  1994,

            saying that he (Randolph)  did not recall making  the precise

            statements  recounted  in  the  police  report,  but  he  did

            remember  telling the arresting  officer that (1)  he thought

            that Sturtevant must have been  carrying a gun to risk coming

            into his drug territory and punching him in the face, and (2)

            Sturtevant said that he was  now going to be "pumping," i.e.,
                                                                    ____

            selling drugs, in Randolph's area.

                 At Sturtevant's request,  the district  judge granted  a

            continuance  until December 16,  1994, but indicated  that an

            evidentiary  hearing,  also  requested   by  Sturtevant,  was

            probably unnecessary.   On  December 16,  1994, the  district

            court applied  the four-level  enhancement, finding that  the

            possession  of the  shotgun  played  a  role  in  emboldening

            Sturtevant's actions towards  Randolph.  The court  said that

                                
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                 1The  officer, who  is now  deceased,  reported (in  the
            police report and  before the grand jury) that  Randolph said
            that  Sturtevant  approached  him  prior  to  the  fight  and
            declared, "get the fuck out of here, I'm taking over the drug
            trade now, and if you fuck with me, I'm going to shoot you."

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            it gave little weight to Randolph's statements, but explained

            to Sturtevant that  he made these findings  "because you were

            out there on the street  with a deadly weapon; it might  have

            been in your pocket, but it was there in reserve."

                 The  only issue on appeal is  whether the district court

            abused  its  discretion  in failing  to  hold  an evidentiary

            hearing before levying the  four-level enhancement.  Although

            Sturtevant says  that an  evidentiary hearing  was needed  to

            test Randolph's credibility,  he has never directly  disputed

            Randolph's  claim--twice  repeated  and never  repudiated  by

            Randolph--that  Sturtevant started the fight.  There was also

            unrefuted evidence, independent of  Randolph, that Sturtevant

            actually  possessed  a  loaded sawed-off  shotgun  during his

            assault.    The  assault  was  a  felony  offense  under  the

            guidelines.   U.S.S.G.   2K2.1  comment. (n.7);  M.G.L.A. ch.

            265,   13A.

                 Given  the broad  reach  of  the  "in  connection  with"

            requirement, United States  v. Thompson,  32 F.3d  1, 3  (1st
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            Cir. 1994), we think that the  carriage of the gun during the

            assault satisfied the requirement of section 2K2.1(b)(5) that

            a firearm be  "used or possessed  . . .   in connection  with

            another  felony  offense .  .  .  ."   The  courts  have held

            repeatedly that the presence of a readily available weapon in

            a  location containing drugs is  enough.  E.g., United States
                                                      ____  _____________

            v.  McFadden, 13  F.3d 463,  465-66 (1st  Cir. 1994).   Here,
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            there  might be enough  undisputed evidence for  the district

            court  to  conclude  that this  assault  was  associated with

            drugs.   Still,  if the  enhancement  turned on  Sturtevant's

            purpose or alleged threats, perhaps a hearing might have been

            required. 

                 But we  think that on  the present facts the  motive for

            the assault does not matter.  Sturtevant  carried the shotgun

            on  his person  during his  assault.  The  connection between

            that  crime (the  assault) and the  gun seems  to us  no less

            close than the connection between a drug hideout and gun.  In

            each instance, the weapon provides an added sense of security

            and has a substantial potential for use in the course of  the

            particular crime in question.2   This is not  the case of  an

            accountant  who, while forging checks, happens  to have a gun

            in the desk drawer.

                 In  short, a  hearing  would  have  served  no  purpose.

            Sturtevant was free to testify but made no request  to do so,

            and  Randolph's testimony would  not have altered  the result

            even if he had said that no threats were made and  the reason

            for the assault was a mystery.  

                 Affirmed.
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                 2Compare United States v. Eaton, 890 F.2d 511,  512 (1st
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            Cir.  1989), cert. denied,  495 U.S. 906  (1990) (drug case),
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            with  United States  v. Routon,  25 F.3d  815, 819  (9th Cir.
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            1994) (car theft).  This  court cited Routon with approval in
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            United States v. Thompson, 32 F.3d 1, 6 (1st Cir. 1994).
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